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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                              Case No.: 9:16-CV-80148-ROSENBERG

  BYRON L. HARRIS, JR.

         Plaintiff,
  vs.

  CITY OF BOYNTON BEACH,
  MICHAEL BROWN, MATTHEW MEDEIROS,
  STEPHEN MAIORINO, RONALD RYAN,
  JUSTIN HARRIS, CORY HERNY,
  ALFRED MARTINEZ, and
  Other unknown officers,

        Defendants.
  ______________________________/
                                    NOTICE OF SETTLEMENT
         Interested Parties, DAVID CASALS, J. SAMANTHA VACCIANA and TRIAL LAWYERS
  OF THE PALM BEACHES (“TLPB”) (collectively “Interested Parties”), through the undersigned
  counsel, file this Notice of Settlement and state:
         1.      On January 11, 2017 the Interested Parties agreed upon terms to resolve the Charging
  Lien [DE #145].
         2.      Once all terms are complete, which the parties anticipate will occur no later than
  January 18, 2017, the Interested Parties will dismiss/withdraw the Notice of Charging Lien.




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                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on January 11, 2017, I electronically filed the foregoing with
  the Courts CM/ECF system and that a true and correct copy of the foregoing was sent via electronic
  mail to the following individual(s)/firm(s) identified on the Service List.


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